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OF TEXAS



NO. AP-76,066




EX PARTE JUAN JOSE DELEON, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 28518-361 IN THE 361ST DISTRICT COURT
FROM BRAZOS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated assault
and sentenced to forty years’ imprisonment. The First Court of Appeals affirmed his conviction.
Deleon v. State, No. 01-01-01237-CR (Tex. App.–Houston [1st Dist.], Sept. 25, 2003, pet. dism’d).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his appellate counsel failed to file a timely petition for discretionary
review and that, as a result, Applicant was denied an opportunity to file a pro se petition for
discretionary review. We remanded this application to the trial court for findings of fact and
conclusions of law. Appellate counsel filed an affidavit with the trial court. Based on that affidavit,
the trial court has entered findings of fact and conclusions of law that appellate counsel failed to file
a timely petition for discretionary review. The trial court recommended that relief be granted. We
find, therefore, that Applicant is entitled to the opportunity to file an out-of-time petition for
discretionary review of the judgment of the First Court of Appeals in Cause No. 01-01-01237-CR
that affirmed his conviction in Case No. 28518-361 from the 361st Judicial District Court of Brazos
County. Applicant shall file his petition for discretionary review with the First Court of Appeals
within 30 days of the date on which this Court’s mandate issues.
&nbsp;
Delivered: January 14, 2009
Do not publish


